 Case 2:10-md-02179-CJB-DPC Document 20941-1 Filed 07/08/16 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG            *   MDL NO. 2179
DEEPWATER HORIZON IN THE                   *
GULF OF MEXICO, ON APRIL 20,               *   CIVIL ACTION NO. 2:10-CV-02771
2010                                       *
                                           *   JUDGE BARBIER
                                           *
                                           *   SECTION J
THIS DOCUMENT RELATES TO:                  *
All Cases in Pleading Bundle Section *         MAGISTRATE JUDGE SHUSHAN
III.B(3),    Case       No.     2011-1084 *
(Pietrangelo v. BP America Production *        MAG. DIV. 1
Company, et al.), Case No. 2011-1159 *
(Bouisse, et al. v. BP America *
Production Company, et al.), Case No. *
2011-1206 (Anderson v. BP America *
Production Company, et al.), Case No. *
2011-1274 (Lam, et al. v. BP America *
Production Company, et al.), Case No. *
2011-2024 (Bayhi v. Danos and Curole *
Staffing LLC, et al.), Case No. 2011-2395 *
(Crawford v. BP America Production *
Company, et al.), Case No. 2011-2527 *
(RMC General Contractors, LLC v. BP *
America Production Company, et al.), *
Case No. 2011-2530 (Arata, et al. v. BP *
America Production Company, et al.), *
Case No. 2012-067 (Degeyter, et al. v. *
Danos & Curole Staffing, L.L.C., et al.), *
Case No. 2012-417 (Leboeuf v. BP *
America Production Company, et al.), *
Case No. 2012-814 (Duong, et al. v. BP *
America Production Company, et al.), *
and Case No. 2012-1295 (Frelich, et al. v. *
BP America Production Company, et *
al.)                                       *
                                           *
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   Case 2:10-md-02179-CJB-DPC Document 20941-1 Filed 07/08/16 Page 2 of 2




                                          ORDER

       Considering the foregoing Ex Parte Motion to Withdraw Counsel filed by Danos and Curole

Staffing, LLC;

       IT IS ORDERED that Stephen M. Pesce (Bar # 29380) is hereby withdrawn as counsel of

record for Danos and Curole Staffing, LLC, in the referenced matters.

       Thus done and signed at New Orleans, Louisiana, this _____ day of ________, 2016.



                                            __________________________________
                                             UNITED STATES DISTRICT JUDGE




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